           Case
            Case2:10-cr-00289-KJD-RJJ
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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         )          2:10-CR-289-KJD (RJJ)
                                                       )
11   CURTIS BRILEY,                                    )
                                                       )
12                         Defendant.                  )

13                                      ORDER OF FORFEITURE

14         On January 17, 2012, defendant CURTIS BRILEY pled guilty to Count One of the Nine-Count

15   Criminal Superseding Indictment charging him in Count One with Conspiracy to Commit Wire

16   Fraud in violation of Title 18, United States Code, Sections 1343 and 1349, and agreed to the

17   forfeiture of property set forth in the Plea Memorandum. Docket #60.

18         This Court finds that CURTIS BRILEY shall pay a criminal forfeiture money judgment of

19   $100,000.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

20   P. 32.2(b)(1) and (2); Title 18, United States Code, Section 982(a)(2)(A); Title 18, United States

21   Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); and Title 21, United

22   States Code, Section 853(p).

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 1        THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2   States recover from CURTIS BRILEY a criminal forfeiture money judgment in the amount of

 3   $100,000.00 in United States Currency.

 4        DATED this ______         January
                       23 day of __________________, 2012.

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                                               UNITED STATES DISTRICT JUDGE
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 1                                       PROOF OF SERVICE

 2        I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the

 3   following individuals were served with a copy of the foregoing Order of Forfeiture on January

 4   19, 2012, by the below identified method of service:

 5        CM/ECF:
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24
                                               /s/ Elizabeth Baechler-Warren
25                                             Elizabeth Baechler-Warren
                                               Forfeiture Support Associate Paralegal
26
